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                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                               Eastern Division

The People of the State of Illinois, ex rel. Kwame
Raoul, Attorney General
                                                     Plaintiff,
v.                                                                Case No.: 1:22−cv−05339
                                                                  Honorable Robert W.
                                                                  Gettleman
Monsanto Company, et al.
                                                     Defendant.



                       NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 14, 2025:


        MINUTE entry before the Honorable M. David Weisman: Magistrate
status/Ruling on motion hearing held. Discussion held regarding Plaintiff's motion to
compel [150]. Electronic ruling on motion by 1/30/25. As to status, Plaintiff continuing to
produce documents and information. Status hearing set for 3/4/25 at 3:00 p.m. Joint status
report due by noon on 2/28/25 setting forth the status of discovery and whether any issues
exist and proposed next steps. Parties may appear in person or dial in using the Court's
conference call−in number. The conference call−in number is 1−855−244−8681 and the
access code is 2316 422 1828##. Persons granted remote access to proceedings are
reminded of the general prohibition against photographing, recording, and rebroadcasting
of court proceedings. Violation of these prohibitions may result in sanctions, including
removal of court issued media credentials, restricted entry to future hearings, denial of
entry to future hearings, or any other sanctions deemed necessary by the Court. Mailed
notice (ao, )




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